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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

LEXINGTON INSURANCE COMPANY                       :
         Plaintiff                                :
                                                  :
       v.                                         :      C.A. No. 21-cv-00128-WES-LDA
                                                  :
CENTRAL FALLS DETENTION FACILITY                  :
CORPORATION                                       :
         Defendant                                :

                                 CONSENT JUDGMENT

       Plaintiff Lexington Insurance Company (“Lexington”) and Defendant Central Falls

Detention Facility Corporation (“CFDFC”), after having participated in the Court’s

Alternative Dispute Resolution Program, hereby consent to entry of judgment as follows:

       1.      Entry of Judgment.        Judgment enters for Lexington in the amount of

$100,000.00 and pre-judgment interest in the amount of $52,000 (collectively, the “Judgment

Amount”). Execution of said judgment is stayed, provided that CFDFC complies with the

following payment schedule:

            a. CFDFC shall pay Lexington $10,000 within 14 days of entry of this Consent

Judgment (the “Initial Payment”);

            b. Thereafter, starting with the next full month after the Initial Payment, CFDFC

shall pay Lexington the following monthly amounts (the “Monthly Payments”), based on the

CFDFC’s average daily population (ADP), as follows:

                   •   Fewer than 600:      $0
                   •   600-629:             $3,000
                   •   630-659:             $6,000
                   •   660-689:             $9,000
                   •   690-719:             $12,000
                   •   720+:                $15,000
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            c. CFDFC shall continue to make the Monthly Payments until it has paid

Lexington a total of $100,000.00 (the “Settlement Amount”), inclusive of the Initial Payment,

plus simple interest at the rate of six per cent (6%) per annum on the Settlement Amount, at

which time, this Consent Judgment and the Judgment Amount shall be deemed to have been

satisfied in full; provided however, if CFDFC pays Lexington $100,000.00 within one year of

the Initial Payment, interest on the Settlement Amount shall be waived and the Judgment

Amount shall be deemed satisfied in full; and, provided further, in the event that that if CFDFC

fails to comply with the foregoing payment schedule, execution shall issue on motion and

notice for the full Judgment Amount, plus statutory interest, less any payments made by

CFDFC hereunder.

       2.      Manner of Payment. CFDFC shall mail the Initial Payment and each monthly

payment to the following address: c/o/Matthew D. Kennedy, Fitzpatrick & Hunt, Pagano,

Aubert, LLP, 1 Landmark Square, 21st Floor, Stamford, CT 06901, no later than the last day

of the following calendar month along with a document showing the prior month’s ADP. By

way of example, if CFDFC’s ADP is 675 for the month of November, 2021, then CFDFC shall

mail Lexington a payment of $9,000 and November’s ADP calculation no later than December

31, 2021.

       3.      Satisfaction of Judgment. No later than 30 days after CFDFC’s payment of

the Settlement Amount (and any interest accrued pursuant to Section 1(c)), Lexington shall

file a Satisfaction of Judgment.

       4.      Release. In consideration of these terms, Lexington, on its own behalf and on

behalf of its respective shareholders, owners, employees, reinsurers (if any), agents, and



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representatives, remises, releases, and forever discharges CFDFC, its directors, employees,

lenders, insurers, bondholders, agents, and representatives, from any and all debts, demands,

actions, claims, damages, liabilities, attorneys’ fees, costs, and interest (except as set forth in

this agreement), now existing, known or unknown, latent or obvious, or which may result from

the existing state of things, which Lexington now has or ever had against CFDFC with respect

to all claims asserted by Lexington – or that could have been asserted – against CFDFC in this

action.

SO ORDERED:


                      10/5/2021
_________________________________

 LEXINGTON INSURANCE COMPANY CENTRAL FALLS DETENTION
                             FACILITY CORPORATION
 By its Attorneys,
                             By its Attorneys,
 /s/Peter Brent Regan
 Peter Brent Regan (#3421)   /s/William S. O’Gara
 SAYER REGAN & THAYER, LLP   William E. O’Gara (#4257)
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                             401 824 5100 t
                             401 824 5123 f
                             wogara@pldolaw.com

                                      CERTIFICATION

        On September 20, 2021, I caused this document to be filed using the Court’s electronic
filing system. Therefore, it is available for downloading and viewing by registered users who
have signed up to receive notices in this case.

                                             /s/ William E. O’Gara




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